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    1   Patricia Ray (Pa Bar No 31989)
    2   D&R I.P. LAW FIRM, APLC
        108 N. Ynez Avenue, Suite 208
    3   Monterey Park, CA 91754
    4   Telephone: (626) 447-7788
    5   Facsimile: (626) 447-7783
5
6
        Attorneys for Plaintiff
7       CHUANQI LIU




                              IN THE UNITED STATES DISTRICT COURT FOR THE

                              WESTERN DISTRICT OF PENNSYLVANIA


9


13
14       CHUANQI LIU, an individual of                        Case No.: 2-22 cv 00367
         China,
15
16                                        Plaintiff,          DECLARATION OF PATRICIA RAY

                                          v.

                                                                                            1




        Ray Declaration in Support of Temporary Restraining
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18
                    FOUJOY et al. Individuals,
19                  Partnerships and Unincorporated
20                  Associations identified on
                    Schedule A,
21

22
                                         Defendants.
23

24                 DECLARATION OF PATRICIA RAY IN SUPPORT OF MOTION FOR EX
25                 PARTE TEMPORARY RESTRAINING ORDER

26
                   I, Patricia Ray, hereby declare as follows:
27
28

                   1.     I am over the age of 18 and I have never been convicted of a felony or any
                   criminal offense involving moral turpitude, and I am fully competent to testify to
                   the matters stated herein. I have personal knowledge of every statement made in
                   this Declaration and such statements are true and correct.
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6                  2.         I am a resident of Pennsylvania, a Pennsylvania attorney, and work with
                   the law firm of David & Raymond IP Law (“the D&RIP Firm”), located at 108
    7
                   N Ynez Ave #128, Monterey Park, CA 91754 in representing Chuanqi Liu
8                  (“Plaintiff”) in the above-referenced action.
9

10
                   3.         The following facts are declared in support of Plaintiff’s Ex Parte
11                 application for a Temporary Restraining Order; an Order Restraining Assets and
12                 Merchant Storefronts; and Order to show cause Why a Preliminary Injunction
13                 Should Not Issue.
14
                   4. These facts are declared both in light of Defendants’ intentional and willful
15                 offerings for sale and/or sales of infringing products, and also the widespread
16                 manner of online sales which is severely affecting Plaintiff’s ability to market
                   genuine products.
18                  5. I have confirmed that each and every Defendant is offering for sale, and selling
19                  bicycle saddle products that infringe Plaintiff’s Design Patent. I have personally
                    ordered from one or more of these unauthorized products from the respective
20                  online Merchant Storefronts. After receiving the orders, I examined and Defendant’s
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21               confirmed that they are infringing.
22
      6.    Based upon my personal experience and my review of other lawsuits , I have
      learned that copying and selling infringing products online is a rampant problem which is
      complicated and compounded by the manner of secretive selling.
25
                 7.     By this, I mean that parties such as the present Defendants do their selling by
                 way of on online marketplaces without displaying their actual business
                 information such as registered business name or trade name, contact name,
                 complete address, phone numbers, or any other contact information. They use their
                 respective online storefront to anonymously sell infringing products. They
                 sometimes use incomplete or made-up return addresses to further hide their
                 identities. Also, they may quickly change and re-post the listing for the products
                 on another storefront or a modified online format and proceed to continue to sell
                 infringing products. On line sellers are also sophisticated enough to monitor the
                 US courts through
                 PACER looking for lawsuits that name them and will drain quickly their related
                 financial accounts upon any notice that a lawsuit is filed against their activity.

      8.        Based upon the foregoing facts, supported by the evidence obtained by directly
 9              ordering the infringing products on line (see Paragraph 4 above) it is submitted that
10              providing notice of the Motion for Temporary Restraining Order and the restraints of
11              the Defendant’s Merchant Storefronts and Accounts would allow the Defendants to

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     Ray Declaration in Support of Temporary Restraining
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12              avoid the Court’s Order thus depriving the Plaintiff of any damage recovery and
                otherwise prevent the full operation of the Court’s Order.
13
14              9. To prevent the Defendants from escaping the effects of the Court’s Order, Plaintiff
                and Plaintiffs’ Counsel have not publicized the filing of this lawsuit or the request
15              for ex parte relief.
16
                10. It is respectfully submitted that based upon the Complaint allegations, and
17              the exhibits submitted therewith, Plaintiff has met the requirements of Fed. R.
18               Civ. P. 65 in its application to the court for an Ex Parte Temporary Restraining
19              Order because:

20
                (a) the specific facts in Plaintiff’s Declaration, this Declaration and the verified
21              complaint show that immediate and irreparable injury, loss, or damage will
22              result to the movant before the adverse party can be heard in opposition; and
23
                (b) the movant’s attorney (undersigned) has herein certified in writing that notice 24
                 would, in this case, defeat the purposes of the application for the ex parte
                temporary restraining order and asset restraint.


                I declare under penalty of perjury that the foregoing is true and correct.
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  3              ______________________
  4              /s/ Patricia Ray
  5              May 16, 2022
  6
  7
  8              Patricia Ray (Pa Bar No 31989)
  9              D&R I.P. LAW FIRM, APLC
 10              108 N. Ynez Avenue, Suite 208
 11              Monterey Park, CA 91754
 12              Telephone: (626) 447-7788
 13              Facsimile: (626) 447-7783

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      Ray Declaration in Support of Temporary Restraining
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